           Entered on Docket October 19, 2022                  Below is the Order of the Court.



 1                                                             _________________________
                                                               Timothy W. Dore
 2                                                             U.S. Bankruptcy Court
                                                               (Dated as of Entered on Docket date above)
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                           IN THE UNITED STATE BANKRUPTCY COURT
                              WESTERN DISTRICT OF WASHINGTON
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10        I N RE:
                                                               NO. 20-11939
11       Emilie Villa Ignacio Padiernos,
12                                                             EX PARTE ORDER ON
                                                               MOTION FOR CONSENT TO
13                                  DEBTOR.                    APPLY FOR THE
                                                               WASHINGTON HOMEOWNER
14                                                             ASSITANCE FUND
15
             THIS MATTER having come regularly before the court on the Debtor’s Ex Parte Motion
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     For Consent To Apply For the Washington Homeowner Assistance Fund, having considered the
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     motion and having reviewed the files and records and having heard the arguments of the parties,
18
     if any, THEREFORE, IT IS HEREBY:
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     Order On Motion 1-
22                                                                      Washington Law Group, PLLC
                                                                             2319 N 45th St Ste 215A
                                                                                   Seattle, WA 98103
23                                                                              Office: 206.686.6054
                                                                                   Fax: 206.400.7919
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      Case 20-11939-TWD           Doc 79      Filed 10/19/22    Ent. 10/19/22 11:15:03           Pg. 1 of 2
 1           ORDERED the Debtor may apply for the Washington Homeowner Assistance Fund

 2   Program to resolve her arrearage on mortgage debts, on homeowner’s dues arrears and for her

 3   post-petition homeowner’s assessments.

 4                                            ///END OF ORDER///

 5   Dated this October 18, 2022.        Respectfully submitted by:

 6                                             /s/Erin Lane__________
                                               Erin Lane, WSBA#42504
 7                                             Attorney for Debtor

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     Order On Motion 2-
22                                                                 Washington Law Group, PLLC
                                                                        2319 N 45th St Ste 215A
                                                                              Seattle, WA 98103
23                                                                         Office: 206.686.6054
                                                                              Fax: 206.400.7919
24




      Case 20-11939-TWD         Doc 79    Filed 10/19/22    Ent. 10/19/22 11:15:03       Pg. 2 of 2
